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3
     Attorney for Defendant
4    VINH VAN VO
5
                             UNITED STATES DISTRICT COURT
6                            EASTERN DISTRICT OF CALIFORNIA
7

8
     UNITED STATES OF AMERICA
9
                                                       )   Case No.: 2:08-cr-00342-MCE
                    Plaintiff,                         )
10
                                                       )   STIPULATION AND ORDER
            vs.                                        )
11
                                                       )   CONTINUING SENTENCING HEARING
     VINH VAN VO                                       )   AND SETTING SCHEDULE RE PSR
12
                                                       )   .
                    Defendant.                         )
13
                                                       )
14

15
                    It is hereby stipulated and agreed to between the United States of America
16
     through Jill Thomas, Assistant United States Attorney, and defendant, Vinh Vo, by and through
17

18   his counsel, Lindsay Anne Weston, that the sentencing hearing in this matter currently scheduled
19
     for June 9, 2011, at 9:00 a.m. be continued to July 7, 2011, at 9:00 a.m. It is requested that the
20
     Court adopt the following schedule for disclosure of and objections to the pre-sentence report.
21

22                  Written objections to draft PSR:         June 2, 2011

23                  Filing of final PSR:                     June 16, 2011
24
                    Motion for correction of PSR:            June 23, 2011
25
                    Reply:                                   June 30, 2011
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                                 The basis for this continuance, which is at the request of the defense, is to allow
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2    the defense sufficient time to respond to the draft pre-sentence report which has already been
3
     disclosed.
4
     Dated: May 20, 2011                                        Respectfully submitted,
5

6                                                               /s/Lindsay Weston
                                                                _________________________________
7                                                               LINDSAY ANNE WESTON
8
                                                                Attorney for Defendant
                                                                VINH VAN VO
9

10
     Date: May 20, 2011                                 BENJAMIN WAGNER
11                                                           United States Attorney
12
                                                                /s/ Lindsay Weston for Jill Thomas
13                                                              _______________________________
                                                                JILL THOMAS
14                                                              Assistant United States Attorney
15                                                              Per e-mail authorization

16

17

18                                                      ORDER
19
                            IT IS SO ORDRED.
20

21
     Date: 5/23/2011
22

23
                                                            __________________________________
24                                                          MORRISON C. ENGLAND, JR
                                                            UNITED STATES DISTRICT JUDGE
25   DEAC_Signatu re-END:




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